     Case 4:10-cr-00108-LGW-CLR Document 184 Filed 09/09/15 Page 1 of 5




                 UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION

UNITED STATES OF AMERICA              )
                                      )



V.                                    )            Case No. CR410-108
                                      )



SHEDRICK SPAULDING, JR. and
MARION MAURICE FIELDS                 )

                  REPORT AND RECOMMENDATION

      Before the Court are Shedrick Spaulding's motion for leave to

appeal in forma pauperis ("IFP") (doe. 178) from the denial of his 18

U.S.C. § 3582(c)(2) motion to reduce sentence (doe. 174), and Marion

Fields' motion for free transcripts, apparently for the purpose of

preparing a motion for collateral relief. Doe. 179.

      A. Motion for Leave to Proceed IFP on Appeal

      "To obtain leave to proceed IFP on appeal, [Spaulding] must show

that he is a pauper and that he will present a nonfrivolous' issue for

appeal." United States v. Heyliger, 407 F. App'x 803, 804 (5th Cir. 2011)


    Frivolous means "without arguable merit either in law or fact." Napier v.
Preslicka, 314 F.3d 528, 531 (11th Cir. 2002); see also see also Howard v. Augusta-
Richmond Cnty., Ga., No. 14-15474, slip op. at 2 (11th Cir. Sept. 2, 2015) ("To be
frivolous, a complaint must be so lacking in arguable merit as to be groundless or
without foundation.") (quotes omitted); Brown v. United States, 2009 WL 307872 at *
1-2 (S.D. Ga. Feb. 9, 2009).
    Case 4:10-cr-00108-LGW-CLR Document 184 Filed 09/09/15 Page 2 of 5




(denying leave to appeal IFP on challenge to district court's denial of 18

U.S.C. § 3582(c)(2) motion). He proffers proof that he's a pauper, see

doe. 178, but his appeal is frivolous and so IFP status should be denied.

     Under § 3582(c)(2), courts may modify a term of imprisonment,

after considering the factors in 18 U.S.C. § 3553(a), "in the case of a

defendant who has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the Sentencing

Commission." If, however, the imposed sentence is based on an

unaffected sentencing range, "[t]he court may not modify a term of

imprisonment once it has been imposed." 18 U.S.C. § 3582(c); see United

States v. Lamb, 485 F. App'x 380, 381-82 (11th Cir. 2012) ("[A] sentence

adjustment under § 3582(c) is not a de novo re-sentencing; a court may

apply the § 3553(a) factors only if it first has the authority to grant a

reduction and then decides to reduce the sentence.").

     Amendment 782, which retroactively reduced most drug quantity

base offense levels (and upon which Spaulding rests his § 3582(c)(2)

motion), did not lower his sentencing range because the Court sentenced

him as career offender under U.S.S.G. § 4131.1, not on the basis of a drug

quantity determination.      See United States v. Williams,       2015 WL


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    Case 4:10-cr-00108-LGW-CLR Document 184 Filed 09/09/15 Page 3 of 5




1607967 at * 2 (N.D. Iii. Apr. 9, 2015) ("Since Williams was properly

sentenced as a career offender, we find that Amendment 782 does not

entitle Williams to a further reduction in his sentence."); PSI ¶ 26. 2

Hence, the Court lacked authority to resentence Spaulding under §

3582(c) and so had no occasion to apply the § 3553(a) factors. Because no

component of that analysis or conclusion is questionable, Spaulding's

appeal is frivolous and his motion to appeal IFP should be DENIED.

      B. Motion for Transcripts

      Fields moves for free copies of his trial and sentencing transcripts,

as well as copies of "Habeas Corpus forms 2241 and 2255." Doc. 179.

The Court presumes he wants the transcripts to help him prepare to file

for post-conviction relief. But Fields has filed no collateral attacks to his

conviction or sentence and so "is not entitled to these documents free of

charge." United States v. Mitchell, 2008 WL 824226 at * 1 (M.D. Fla.

Mar. 26, 2008); see also Pope v. Adams, 2015 WL 4394286 at * 2 (N.D.

Ala. July 16, 2015) ("[A] prisoner's right to obtain 'access to the court

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    The PSI calculated Spaulding's total offense level using the drug quantity
provisions -- which Amendment 782 does affect -- as 25. PSI ¶ 25. Nevertheless, and
as the PSI properly recognized, "if the offense level for a career offender from the
table in [§ 4B1.11 is greater than the offense level otherwise applicable, the offense
level from the table in [§ 4B1.11 shall apply." Williams, 2015 WL 1607967 at * 1
(quoting tJ.S.S.G. § 4B1.1). Indeed, even Spaulding admits that § 4B1.1 "was
applicable" because of his prior convictions. Doe. 173 at 2.
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     Case 4:10-cr-00108-LGW-CLR Document 184 Filed 09/09/15 Page 4 of 5




files of their underlying criminal proceeding,' . . . does not extend 'for the

purpose of preparing a collateral attack on a conviction.") (quoting

Hansen v. United States, 956 F.2d 245 ) 248 (11th Cir. 1992)) (emphasis

in original); id. ("[A] request by a prisoner for access to the court files of

his underlying criminal conviction is premature prior to the filing of a

collateral attack on that conviction, [and] a prisoner is entitled to access

the court files only after he has made a showing that such files are

necessary to the resolution of an issue or issues he has presented in a

non-frivolous pending collateral proceeding.").' The Court therefore

DENIES Fields' motion for transcripts at public expense. Doc. 179.

       Nevertheless, this Court freely dispenses preprinted, court-issued

forms to all corners with no justification required (they are even available




   In any case, a 28 U.S.C. § 2255 motion would be untimely since Fields' conviction
became final well over one year ago. See doc. 141 (mandate of court of appeals
affirming his judgment, filed October 24, 2012); 28 U.S.C. § 2255(f) (one year
limitations period measured from the "date on which the judgment of conviction
becomes final"). His motion otherwise illuminates no substantial issue requiring a
transcript for its resolution. See 28 U.S.C. § 753(f); United States v. Heyward, 2008
WL 5189725 at * 1 (S.D. Ga. Dec. 10, 2008) ("[Ijndigent prisoners seeking
postconviction collateral relief do not have an automatic right to free copies of court
transcripts and documents. Criminal defendants have an absolute right to a trial
transcript for direct appeals, but, if they are seeking postconviction collateral relief,
they must first demonstrate a nonfrivolous claim.") (quoting Nortonsen v. Larimer
Cnty. Dist. Court, 178 F. App'x 783, 783 (10th Cir. 2006)).

                                            4
    Case 4:10-cr-00108-LGW-CLR Document 184 Filed 09/09/15 Page 5 of 5




on the court's public website), 4 so the Clerk is DIRECTED to include a

copy of the § 2255 form (there is no § 2241 form) with its service of this

Order upon Fields.

      SO REPORTED AND RECOMMENDED, this                                day of

September, 2015.


                                     UNITED!4T-ATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA




" See http //www.gasd.uscourts.gov/pdf/AO_243.pdf
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